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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                        :
PRESIDENT, INC., et al.,                   : No. 4:20-CV-02078
     Plaintiffs,                           :
                                           : (Judge Brann)
    v.                                     :
KATHY BOOCKVAR, et al.,                    :
    Defendants.                            :


                                   ORDER

        AND NOW, this 19th day of November 2020, IT IS HEREBY ORDERED

that:

        1.   The Plaintiffs’ Motion for Leave to File Second Amended Complaint

             is GRANTED.



                                     BY THE COURT:
                                     ____________________
                                     Matthew W. Brann
                                     United States District Judge
